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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


COMMONWEALTH OF PENNSYLVANIA, by             :
Attorney General JOSH SHAPIRO,               :
                                             :
               Plaintiff,                    :     CIVIL ACTION
                                             :
     v.                                      :     No. 14-cv-7139
                                             :
THINK FINANCE, LLC, et al.,                  :
                                             :
               Defendants.                   :


                              MEMORANDUM AND ORDER

Joyner, J.                                                 April 3, 2018

     Before the Court are Defendants Think Finance, LLC (f/k/a

Think Finance, Inc.), TC Loan Service LLC, Tailwind Marketing, LLC,

TC Decision Sciences, LLC, and Financial U, LLC’s (collectively,

“Think Finance Defendants”) Motion to Transfer Venue (Doc. No.

207), the Commonwealth’s Response in Opposition thereto (Doc. No.

208), Defendant Rees’ Joinder of the Think Finance Defendants’

Motion    to    Transfer     Venue   (Doc.   No.   212),   the   Think   Finance

Defendants’ Reply in Support of their Motion to Transfer Venue

(Doc. No. 213), and all other relevant material and notices that

the parties have submitted (Doc. Nos. 219, 221, 222, 225, and 227).

For the following reasons, the Motion is denied.

I.   BACKGROUND

     The allegations and proceedings are well known to the parties

of this dispute.       We do not review them here.

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       Relevant to the instant decision, we note that on October 23,

2017, the Think Finance Defendants filed voluntary petitions for

relief under chapter 11 of the United States Code before the United

States Bankruptcy Court for the Northern District of Texas.                  After

doing so, the Think Finance Defendants moved to transfer this case

to the United States District Court for the Northern District of

Texas, where they believe it will be transferred to the bankruptcy

court overseeing their proceedings under chapter 11.

II.    DISCUSSION

       The Think Finance Defendants and Plaintiff, the Pennsylvania

Office of Attorney General (“OAG”), disagree on what statute

governs the transfer request in this case.                     The Think Finance

Defendants     argue    that   28   U.S.C.      Section   1412    applies,    which

provides that “[a] district court may transfer a case or proceeding

under title 11 to a district court for another district, in the

interest of justice or for the convenience of the parties.”                      28

U.S.C. § 1412.      While, by its terms, the statute only applies to

cases or proceedings “under title 11,” courts have applied Section

1412 more broadly to “relating to” cases–i.e., to cases that have

a     conceivable   effect     on   the       estate   being     administered   in

bankruptcy.      Toth v. Bodyonics, Ltd., No. 06-cv-1617, 2007 WL

792172, at *1-2 (E.D. Pa. Mar. 15, 2007) (citing Howard Brown Co.

v. Reliance Ins. Co., 66 B.R. 480, 482 (E.D. Pa. 1986)).                         In

response,     the OAG    argues     for   the    application     of   the   general


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transfer statue, 28 U.S.C. Section 1404, which subsection (a)

provides: “[f]or the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action

to any other district or division where it might have been brought

or   to    any    district   or    division    to    which   all   parties   have

consented.”        28 U.S.C. § 1404(a).

      To start, both Sections instruct us to analyze whether the

transfer is in the “interest of justice.”               28 U.S.C. §§ 1404(a),

1412.       While the “interest of justice” is a fairly amorphous

phrase, we generally consider the following factors under both

Sections:        “(1)   plaintiff's   choice    of   forum;   (2)    defendant's

preference; (3) whether the underlying claim arose elsewhere; (4)

relative physical and financial conditions of the parties; (5)

convenience of witnesses; (6) location of books and records; (7)

enforceability          of   any    judgment    obtained;      (8)     practical

considerations making trial easy, expeditious or inexpensive; (9)

administrative difficulty arising from court congestion; (10) local

interest in controversy; (11) public policies in each forum; and

(12) familiarity of trial court with applicable law.”                 Toth, 2007

WL 792172, at *2 (noting the considerations under Sections 1404 and

1412 are the same) (citing Jumara v. State Farm Ins. Co., 55 F.3d

873, 879-80 (3d Cir. 1995)); Marino v. Kent Line Int’l, 2002 WL

31618496, at *2 n.1 (E.D. Pa. Nov. 20, 2002) (same) (citing In re

Emerson Radio Corp., 52 F.3d 50, 55 (3d Cir. 1995)).


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     Though both Sections may consider similar factors, the Think

Finance     Defendants    insist    that   the   main    distinction   between

Sections 1404 and 1412 is that Section 1412 carries with it a

presumption in favor of transferring the case to the district where

bankruptcy proceedings are occurring. Krystal Cadillac-Oldsmobile-

GMC Truck v. General Motors Corp., 232 B.R. 622, 627 (E.D. Pa.

1999).

     Two district courts have considered similar transfer requests

in related litigation.           Most recently, the Eastern District of

Virginia transferred a class action brought by Virginia customers

upon motion of Mr. Rees and GPL Servicing, Ltd.            Gibbs v. Rees, No.

17-cv-386, 2018 WL 1460705, at *16 (E.D. Va. Mar. 23, 2018).

Holding that Section 1412 applied to the transfer request, the

court     found    that    Mr.     Rees’   and    GPL     Servicing,      Ltd.’s

indemnification      agreements     with   the   Think    Finance   Defendants

rendered the case “related to” the bankruptcy proceedings because

the outcome could conceivably have an effect on the bankruptcy

estates.     Id. at *12-13.        The court noted that the economic and

efficient administration of the bankruptcy estate was the most

important factor considered.         Id. at *14.    In doing so, the court

recognized a presumption when applying Section 1412 in favor of

trying cases “related to” a bankruptcy proceeding in the court

where the bankruptcy proceedings are pending.             Id.




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      A few months prior to the decision in Gibbs, the District of

Montana denied a transfer request from the Think Finance Defendants

in   another   related      action    brought       by    the   Consumer    Financial

Protection Bureau for loans issued to Montana residents.                       CFPB v.

Think Finance, LLC, No. 17-cv-127, 2018 WL 734661, at *5 (D. Mont.

Feb. 2, 2018).          Because the suit was brought by the Consumer

Financial Protection Bureau, a federal agency, the court noted that

the lawsuit carried the special designation of a “police and

regulatory action” under the Bankruptcy Code.                    Id. at *2-3.       The

court noted that, as a police and regulatory action, the case was

not subject to the automatic stay provision under 28 U.S.C. Section

362(b)(4).      To   the    court,    this        exemption     gave   force   to   the

underlying     public    policy     that    “police       and   regulatory     actions

present concerns more important than the goals of efficiency and

maximizing the estate.”           Id. at *4 (internal quotation omitted).

Ultimately, the court denied the transfer request under Section

1404, finding that the application of the presumption to transfer

that Section 1412 carries “would contravene the public policy

underlying the stay exception.”             Id. at *2-5.

      First, we agree with Gibbs and follow this Court’s precedent

by applying Section 1412 to the Think Finance Defendants’ transfer

request.   Toth, 2007 WL 792172, at *1-2.                 The outcome of this case

clearly    implicates       the    Think        Finance   Defendants’      bankruptcy

estates.       As   such,    this    case       relates    to   the    Think   Finance


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Defendants’ bankruptcy proceedings, and we will therefore analyze

their transfer request under Section 1412.

     Second, we find that Section 1412’s presumption of transfer

does not apply to police and regulatory actions, such as this case.

It is important to note that the presumption in favor of transfer

under Section 1412 cannot be found in the statute.             Rather, the

presumption has developed throughout case law in which courts were

not faced with the competing interest of affording due respect to

police and regulatory actions. See e.g.,          Dearden v. FCA U.S. LLC,

2017 U.S. Dist. LEXIS 48751 (E.D. Pa. Mar. 31, 2017); Al’s Family

Auto. v. Bennett, No. 11-cv-6237, 2012 U.S. Dist. LEXIS 9353 (E.D.

Pa. Jan. 25, 2012); Krystal Cadillac, 232 B.R. 622 (E.D. Pa. 1999).

     Moreover, we agree with the court in CFPB that the public

policy underlying the exception to the automatic stay “generates

inherent tension with the public policy underlying the presumption

of transfer in [Section] 1412.”          CFPB, 2018 WL 734661, at *3.

Applying a presumption of transfer to police and regulatory actions

would also conflict with the public policy underlying Congress’

decision to exempt “a civil action by a governmental unit to

enforce such governmental unit’s police or regulatory power” from

28 U.S.C. Section 1452, which permits the removal of cases from

state court that relate to bankruptcy proceedings in federal court.

28 U.S.C. § 1452(a). Simply put, Congress has favored the interest

of   permitting    states’    regulatory    and    police   actions     to


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independently    proceed      over      the   interest        in    centering     the

administration of the defendant’s related bankruptcy proceedings,

see 28 U.S.C. Section 1452(a), or the interest in facilitating the

most efficient adjudication for the defendant, see 11 U.S.C.

Section 362(b)(4). We follow this preference by holding that, when

analyzing a motion to transfer a police and regulatory action,

Section 1412 does not carry a presumption in favor of transfer.

      Lastly, in applying Section 1412, we find that the Think

Finance   Defendants       have   failed      to     carry     their     burden      of

demonstrating that transfer is proper. Of course, the burden is on

the   party   seeking   transfer     under     Section       1412   to   show   by    a

preponderance of evidence that transfer is in the interest of

justice or for the convenience of the parties.                 Krystal Cadillac,

232 B.R. at 627-28; 28 U.S.C. § 1412.              “Absent such a showing, the

court will not disturb the choice of forum made by plaintiff, as it

should be accorded great deference.”               Id. at 628.

      Regarding the convenience of the parties, we find that both

parties will be burdened equally whether we retain this case or

transfer it to the Northern District of Texas.                 The OAG is located

in Pennsylvania, and the Think Finance Defendants are resident in

the Northern District of Texas.               Either way, one side will be

litigating on the road.           Regarding whether transfer is in the

interest of     justice,    the   OAG    alleges      that    the   Think Finance

Defendants violated Pennsylvania law–not Texas law–by issuing usury


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loans to Pennsylvania consumers–not Texas consumers.              Of course,

the consumer witnesses are located in Pennsylvania.            And given the

volume of lending at issue, Pennsylvania has a significant interest

in this litigation. Finally, we find that the plaintiff’s identity

as the OAG, as an agency of the Commonwealth, weighs heavily in

favor of allowing it to litigate within its own state. Ultimately,

we find that these factors outweigh those that would arguably lean

in favor of transferring the case to the Northern District of

Texas.

III. CONCLUSION

     For     the   following    reasons,    we   deny   the   Think   Finance

Defendants’ Motion to Transfer.




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